912 F.2d 463Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Gary Lee HARRIS, Plaintiff-Appellant,v.Edward MURRAY, Director, John B. Taylor, Warden, SamuelPruett, Assistant Warden, Robert R. Kelly, Warden,Raymond M. Muncy, Warden, Defendants-Appellees.
    No. 89-6419.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 5, 1990.Decided Aug. 28, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Chief District Judge.  (CA-88-1161-AM)
      Gary Lee Harris, appellant pro se.
      William W. Muse, Assistant Attorney General, Richmond, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before WIDENER, PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Gary Lee Harris appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Harris v. Murray, CA-88-1161-AM (E.D.Va. Nov. 21, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    